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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

                                                                   Chapter 11
     In re:
     ACETO CORPORATION, et al.,1                                   Case No. 19-13448 (VFP)

                      Debtors.                                     (Jointly Administered)

     KAVOD PHARMACEUTICALS LLC (f/k/a
     RISING PHARMACEUTICALS, LLC, f/k/a                            Adv. Pro. No.:
     RISING PHARMACEUTICALS, INC.) and
     ACETO CORPORATION,
                                                                   Adversary Complaint
                      Plaintiffs,
              v.
     SIGMAPHARM LABORATORIES, LLC,
                      Defendant.


       OBJECTION TO CLAIM NOS. 155 AND 162 AND COUNTERCLAIMS AGAINST
                      SIGMAPHARM LABORATORIES, LLC




 1
   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are as
 follows: Aceto Corporation (0520); Tri Harbor Chemical Holdings LLC (f/k/a Aceto Agricultural Chemicals LLC,
 f/k/a Aceto Agricultural Chemicals Corporation) (3948); Tri Harbor Realty LLC (f/k/a Aceto Realty LLC) (7634);
 Kavod Pharmaceuticals LLC (f/k/a Rising Pharmaceuticals, LLC, f/k/a Rising Pharmaceuticals, Inc.) (7959); Kavod
 Health LLC (f/k/a Rising Health, LLC) (1562); Kavris Health LLC (f/k/a Acetris Health, LLC) (3236); KAVACK
 Pharmaceuticals LLC (f/k/a PACK Pharmaceuticals, LLC) (2525); Arsynco, Inc. (7392); and Acci Realty Corp.
 (4433).
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        Plaintiffs Kavod Pharmaceuticals LLC, f/k/a Rising Pharmaceuticals, LLC, f/k/a Rising

 Pharmaceuticals, Inc. (“Rising”), and Aceto Corporation (“Aceto,” and together with Rising,

 “Plaintiffs”), hereby file this objection to proofs of claim numbers 155 and 162 filed by

 Sigmapharm Laboratories, LLC (“Sigmapharm” or “Defendant”), and counterclaims against

 Sigmapharm (collectively, the “Complaint”). In support of the Complaint, Plaintiffs allege as

 follows:

                                    SUMMARY OF THE CASE

        1.      This Complaint arises out of Sigmapharm’s unlawful termination and breach of the

 Master Product Development and Collaboration Agreement (the “Agreement”), which governed

 the business relationship between Rising and Sigmapharm since June 2006. The Agreement

 created a strategic collaboration between Rising and Sigmapharm, pursuant to which Sigmapharm

 had exclusive rights to develop and manufacture certain generic pharmaceutical products, and

 Rising had exclusive rights to commercialize (or market, distribute, and sell) Sigmapharm’s

 products. The parties agreed to share certain costs and profits derived from Rising’s sales of

 products.

        2.      This was not a short-term arrangement that could be terminated on a whim. The

 parties agreed that the Agreement would remain in effect unless and until the parties jointly agreed

 in writing to end the relationship. In order to unilaterally terminate the Agreement without cause,

 a party was required to, inter alia, transfer its rights to the products to the non-terminating party.

 Moreover, a termination “for cause” was reserved for a material breach of the Agreement and,

 even then, could be valid only upon strict compliance with various conditions, including (i) the

 provision of a written notice identifying the alleged material breach, (ii) a cure period of up to 180

 days following the transmission of the notice of breach, and (iii) the allegedly breaching party

 failing to cure the material breach identified in the written notice.

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        3.      For more than a decade after executing the Agreement, the parties collaborated in

 the manufacture and commercialization of products, and earned millions of dollars in shared

 profits along the way. But Sigmapharm became greedy and wanted to keep all profits to itself.

 Although Sigmapharm had no ability to commercialize products when it executed the Agreement,

 it learned how to do so from Rising. Sigmapharm then developed its own sales force and

 implemented a scheme to improperly strip Rising of its bargained-for rights under the Agreement.

 Indeed, unwilling to pursue legitimate ways to terminate the relationship that were permissible

 under the Agreement—including a mutual termination (which would require Sigmapharm to buy

 Rising’s interests) or a termination without cause (which would require Sigmapharm to sell its

 interests to Rising)—Sigmapharm chose to manufacture pretextual grounds on which to

 unlawfully terminate the Agreement “for cause.”

        4.      Sigmapharm’s ploy was revealed to Rising on March 23, 2018, when Sigmapharm

 out of the blue sent Rising a purported “Notice of Termination.” This pretextual termination was

 utterly groundless and invalid under the plain terms of the Agreement. Sigmapharm tried

 desperately to find a past communication that it could attempt to pass off as a contractually-

 required “notice of breach,” but it failed miserably. Grasping at straws, Sigmapharm landed on a

 letter Sigmapharm sent to Rising fifteen months prior, in December 2016, which is not a “notice

 of breach” and does not even reference the terms “breach” or “termination.” Rather, the letter was

 nothing more than a routine business communication in which Sigmapharm identified minor

 “issues” it saw from documents provided by Rising, and thanked Rising for its continued

 cooperation. Regardless, Rising and Sigmapharm worked cooperatively and resolved all “issues”

 identified in the letter well before Sigmapharm tried to use it to justify a pretextual termination.

 Therefore, Sigmapharm’s purported termination of the Agreement “for cause” is unlawful and

 invalid under the Agreement.

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         5.      Even worse, Sigmapharm stopped supplying any products to Rising and has been

 marketing and selling the products itself directly to customers, in clear breach of the Agreement

 and in violation of Rising’s bargained-for exclusivity rights.

         6.      Sigmapharm’s unlawful termination of the Agreement and refusal to supply

 products to Rising caused Rising substantial harm to its business and reputation, and exposed

 Rising to substantial failure-to-supply liability resulting from Rising’s inability to comply with its

 contractual obligations to supply products to customers.

         7.      As a consequence of Sigmapharm’s breaches of the Agreement, Rising seeks an

 award of damages in an amount to be determined at trial, including, but not limited to: (i) Rising’s

 own lost profits from products that Sigmapharm refused to supply, in breach of the Agreement;

 (ii) disgorgement of any profits or revenues realized by Sigmapharm arising from its sale of

 products directly or indirectly through a third party, in breach of Rising’s exclusivity rights; (iii)

 recovery of any failure-to-supply liability or damages that Rising owes or will owe to its own

 customers; and (iv) loss of or damages to business reputation or goodwill, as well as declaratory

 and other relief.

         8.      In addition, Rising seeks an award of damages: (i) for moneys advanced to

 Sigmapharm that Rising is entitled to claw back under the Agreement on account of chargebacks,

 rebates, and other pricing concessions and adjustments provided to customers, which amount

 totaled no less than approximately $5.5 million as of January 2019, and may increase substantially

 as additional pricing concessions or adjustments are accounted for or accrue in the future; and (ii)

 for moneys due Rising on account of past improper calculation and allocation of the costs of goods

 sold in conjunction with the revenue-sharing formula pursuant to the Agreement, which amount

 totals no less than approximately $3.5 million.




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        9.      Plaintiffs also object to and seek disallowance, pursuant to 11 U.S.C. § 502(b), of

 claim number 155 (“Claim No. 155”) filed by Sigmapharm against Aceto and claim number 162

 (“Claim No. 162”) filed by Sigmapharm against Rising (collectively, the “Sigmapharm Claims”)

 in the above-captioned bankruptcy cases (the “Chapter 11 Cases”). The Sigmapharm Claims are

 inextricably intertwined with Rising’s claims against Sigmapharm. In the event the Sigmapharm

 Claims are not promptly disallowed pursuant to 11 U.S.C. § 502(b), Plaintiffs also seek estimation,

 pursuant to 11 U.S.C. § 502(c), of the allowed amount of the Sigmapharm Claims for all purposes

 in the Chapter 11 Cases, including distributions under any confirmed plan, at zero dollars ($0.00).

        10.     Finally, to the extent that the Sigmapharm Claims are allowed in any amount,

 Plaintiffs have valid setoff rights and, under applicable law, the Unpaid Obligations (as defined

 below) should be setoff first against the allowed amount (if any) of the Sigmapharm Claims.

                                            PARTIES

        11.     During the time periods relevant to this Complaint, Rising sold and distributed

 generic prescription products and over-the-counter pharmaceutical products to wholesalers, chain

 drug stores, distributors, and mass merchandisers. Rising is a wholly-owned subsidiary of Aceto.

 Rising is a limited liability company organized under the laws of the State of Delaware, with its

 previous principal place of business located at Park 80 West, Plaza 1, 250 Pehle Avenue, Suite

 601, Saddle Brook, New Jersey 07663.

        12.     During the time periods relevant to this Complaint, Aceto was engaged in the

 development, marketing, sale, and distribution of finished dosage form generic pharmaceutical

 products, nutraceutical products, pharmaceutical active ingredients and intermediates, and

 specialty performance chemicals. Aceto is a corporation organized under the laws of the State of

 New York, with its previous principal place of business located at 4 Tri Harbor Court, Port

 Washington, New York, 11050.

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        13.     On February 19, 2019 (the “Petition Date”), Aceto and certain affiliates, including

 Rising (collectively, the “Debtors”), filed voluntary petitions for relief under chapter 11 of title 11

 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), commencing these

 Chapter 11 Cases in this Court.

        14.     Upon information and belief, Sigmapharm is a privately-held pharmaceutical

 company that claims to be engaged in the development, manufacturing, and marketing of generic

 and branded products. Sigmapharm is a Pennsylvania limited liability company, with its principal

 place of business located at 3375 Progress Drive, Bensalem, PA 19020.

                                   JURISDICTION AND VENUE

        15.     This Court has subject matter jurisdiction over this adversary proceeding pursuant

 to 28 U.S.C. §§ 157 and 1334(b) and the Standing Order of Reference to the Bankruptcy Court

 Under Title 11 of the United States District Court for the District of New Jersey, entered on July

 23, 1984 and amended on September 18, 2012.

        16.     This adversary proceeding is a core proceeding pursuant to 28 U.S.C. §

 157(b)(2)(A), (B), (C) and (O). Pursuant to Rule 7008 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), Plaintiffs consent to the entry of final orders or judgments

 by this Court if it is determined that this Court, absent consent of the parties, cannot enter final

 orders or judgments consistent with Article III of the United States Constitution.

        17.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(a).

        18.     The statutory and legal predicates for the relief requested herein are sections 105,

 502, 541 and 558 of the Bankruptcy Code, Bankruptcy Rules 3007, 6009, and 7001, and D.N.J.

 LBR 3007-1 and 7003-1.




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                                   FACTS COMMON TO ALL COUNTS

 I.         The Agreement

            19.     Rising and Sigmapharm executed the Agreement2 approximately 13 years ago, on

 June 22, 2006. At that time, Sigmapharm had been in business for only one year, having been

 founded in March 2005, and specialized in the development and manufacture of generic

 pharmaceutical products.           Sigmapharm, however, had no ability to commercialize its own

 products. By virtue of the Agreement, that fundamental void was filled by Rising, who was one

 of the premier experts in the commercialization of generic pharmaceutical products.

            20.     As the Agreement recites at the outset: “SigmaPharm has certain expertise and

 technology relating to the development and manufacture of solid dose form pharmaceutical

 products and obtaining regulatory approval for such pharmaceutical products and Rising has

 certain expertise relating to the marketing, distribution and sale of pharmaceutical products[.]”

 (Agreement, First WHEREAS Clause). Based on these synergies, the parties executed the

 Agreement “to collaborate with each other in a cost and profit sharing arrangement related to the

 shared ownership or licensing of regulatory approvals for certain generic and/or pharmaceutical

 drugs . . . and to invest their respective resources in developing, obtaining regulatory approval for,

 manufacturing and marketing such drugs[.]” (Id., Second WHEREAS Clause).

            21.     Under the Agreement, the parties agreed to “jointly collaborate” in, inter alia, the

 manufacturing and marketing of certain generic pharmaceutical products (referred to as

 “Products”). (Id. § 2.1.1). Sigmapharm was responsible for developing, manufacturing, and

 securing regulatory approvals for Products. (Id.). Rising, in turn, was responsible for marketing,

 distributing, and selling Products. (Id.). Rising also was responsible for “customer service, rebate




 2
     A copy of the Agreement is attached as Exhibit A.
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 management, billing, warehousing of the finished Products and such other responsibility as

 regularly performed by a pharmaceutical distributor.” (Id.).

        22.     By its terms, the Agreement created a relationship that “is intended to and shall be

 exclusive to the Parties.”     (Id. § 7).   Thus, the Agreement states that “SigmaPharm shall

 manufacture and exclusively supply to Rising and Rising shall exclusively purchase from

 SigmaPharm all of Rising’s requirements of Products for distribution and sale in the Territory.”

 (Id. § 5.1). In accordance with Sigmapharm’s obligation to supply Products exclusively to Rising,

 the Agreement required Sigmapharm to “execute” Rising’s purchase orders for Products “by

 delivery to the destination recited therein of all ordered quantities of the Products no later than the

 delivery dates provided in” the purchase orders. (Id. §§ 5.4, 5.5).

        23.     In connection with the manufacturing, marketing, and sale of Products, Rising and

 Sigmapharm agreed to share certain costs and profits in accordance with the parameters set forth

 in the Agreement. (Id. § 8). Within 45 days of the end of each calendar quarter, Rising agreed to

 calculate Net Sales and Net Profits (as defined in the Agreement) obtained from the sale of

 Products, and distribute to Sigmapharm its share of the Net Profits. (Id. § 8.3; see §§ 1.36, 1.37).

        24.     Under the Agreement, Net Sales are calculated by subtracting from gross sales,

 among other things, “chargebacks, cash and quantity discounts, returns, invoice adjustments,

 rebates (e.g. customer and government) and other credits taken by customers or granted by Rising

 with respect to such Product sales other than as a result of recalls,” “invoice adjustments made for

 errors on invoiced sales included in previous calculations of Net Sales and not yet accounted for,”

 and “marketing and advertising expenses (e.g., trade journals, direct marketing, physician

 detailing, etc.) directly related to the marketing of the Products.” (Id. § 1.37).

        25.     Net Profits, in turn, are calculated by subtracting from Net Sales: “(i) Cost of

 Goods; (ii) Rising’s Fee; (iii) amounts repaid or credited by reason of recalls; (iv) pre-approved

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 consulting and legal fees; (v) Litigation Expenses; (vi) the cost of all Product(s) that are unsaleable

 or no longer marketable; and (vii) any other cost or expense approved by the Parties.” (Id. § 1.36).

          26.      Generally, Sigmapharm was entitled to 55% of the Net Profits.

          27.      To commercialize Products, Rising executed contracts with customers that required

 it to regularly supply large volumes of Products. As both parties knew, Sigmapharm’s failure to

 supply Products to Rising would, in turn, create substantial failure-to-supply liabilities for Rising3

 and irreparably harm its reputation, goodwill, and standing in the market place.

          28.      Given the monumental importance of the continued viability of the Agreement, the

 parties agreed that it will continue and remain in effect unless and until the parties “jointly agree

 in writing” to end the relationship, and the effect of the termination “shall be as set forth in the

 agreement between the Parties relating to such termination.” (Id. §§ 12.4, 12.5). Moreover, a

 party wishing to terminate the Agreement “with respect” to one or more individual Products

 without cause, faced significant consequences (id. § 12.3.2), including a requirement that it assign

 or license the Product(s) being terminated to the other party in exchange for $1.00 or as otherwise

 agreed to by the parties in the corresponding schedule for the Product(s) (id. § 12.5.3).

          29.      While the parties included a “for cause” termination provision for “a particular

 Product,” they set strict parameters that must be followed before a party could properly exercise

 that right. A valid termination of “a particular Product” “for cause” was conditioned upon the

 occurrence of the following five events: (i) one party “materially breach[es]” the Agreement (id.

 § 12.2); (ii) the non-breaching party sends the allegedly breaching party a “written notice . . . for

 material breach” (id.); (iii) the written notice of material breach complies with the requirements of



 3
   Sigmapharm is solely responsible for all failure-to-supply liabilities. In the pharmaceutical industry, customers
 typically have the ability to deduct these liabilities as an offset to other unrelated payments owed the seller. Thus,
 failure to supply penalties, which may amount to millions of dollars in this matter, will automatically be deducted by
 customers from payments owed Rising, and Rising is entitled to seek reimbursement from Sigmapharm as the entity
 that caused the failure to supply.
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 Section 14.4.2 for “extraordinary notices” (id. § 14.4.2); (iv) the purported “material breach”

 identified in the written notice remains uncured for a 90-day period “measured from the date

 written notice of such breach is given to the breaching Party” (id. § 12.2) (v); and, following the

 expiration of the first 90-day cure period, the purported “material breach” identified in the written

 notice remains uncured for a second 90-day period if “the breaching Party uses diligent good faith

 efforts to cure such breach” (id.).

         30.      In the event that any termination—including a termination “for cause,” provided

 that it is valid and properly effectuated in accordance with the requirements of the Agreement—

 results in the termination of “all of the individual products and related Schedules,” the terminating

 party cannot immediately terminate the Agreement in its entirety; rather, it can do so only “by

 providing the other Party with thirty (30) days’ prior written notice.” (Id. § 12.1).

 II.     Sigmapharm’s Unlawful Termination and Breach of the Agreement

         31.      Upon the execution of the Agreement in 2006, Sigmapharm became one of Rising’s

 most important partners. The parties spent the first three years developing and obtaining regulatory

 approvals for Products. In 2009, Rising brought the first Product to market. Since then, Rising

 has commercialized at least seven Products (comprising 18 SKU’s), and Rising’s sales of Products

 have generated approximately $177,400,000 in Net Sales and $139,600,000 in Net Profits, with

 $83,900,0004 of the Net Profits going directly to Sigmapharm.

         32.      While Rising was generating millions of dollars in Net Profits for Sigmapharm,

 Sigmapharm was secretly plotting to eliminate Rising from the picture. As noted, Sigmapharm

 had no expertise in commercializing Products when it signed the Agreement. Over time, however,

 Sigmapharm realized that, if it internalized the process of marketing and selling its Products, it



 4
  As discussed below, at least $9,000,000 of that amount represents overpayments of Net Profits that Sigmapharm was
 not entitled to receive under the Agreement and must return to Rising.
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 could avoid paying fees and keep all Net Profits for itself. Therefore, Sigmapharm closely studied

 how Rising commercialized Products and began building its own sales force.

            33.     Sigmapharm’s plan to strip Rising of its bargained-for rights under the Agreement

 faced one considerable roadblock: it could not terminate the Agreement without cause unless it

 relinquished its rights to the Products. Thus, Sigmapharm faced two choices: either attempt to

 negotiate a mutually-agreeable buyout of Rising’s rights under the Agreement, or manufacture a

 baseless, pre-textual justification to unlawfully terminate the Agreement “for cause.”

            34.     Sigmapharm chose to unlawfully terminate the Agreement.

            35.     On March 23, 2018, Sigmapharm sent Rising a letter with a re: line stating: “Notice

 of Termination.”5 In that letter, Sigmapharm proclaimed that it “hereby terminates for cause the

 entirety of the [Agreement], as it applies to each and every drug product covered by said

 Agreement,” and alleged without any specificity that Rising “has failed to cure the material

 breaches of its contractual obligations to Sigmapharm outlined in Sigmapharm’s notice of breach

 dated December 16, 2016[.]” Sigmapharm’s attempt to terminate the Agreement “for cause” was

 utterly baseless and, in any event, unquestionably invalid because Sigmapharm did not even come

 close to satisfying the contractual conditions set forth in the Agreement.

            36.     First, as is obvious from even a cursory review of Sigmapharm’s December 16,

 2016 letter, it is not a “notice of breach.”6 Indeed, the words “termination” or “breach” appear

 nowhere in the letter. As illustrated by its re: line—which reads “Review of Profit Share Payment

 Support”—the letter does nothing more than summarize Sigmapharm’s review of

 “documentation” Rising provided between March and September 2016. (Ex. C at 1). Moreover,

 Sigmapharm concludes the letter not by demanding that Rising cure any material breaches



 5
     A copy of Sigmapharm’s March 23, 2018 letter is attached hereto as Exhibit B.
 6
     A copy of Sigmapharm’s December 16, 2016 letter is attached hereto as Exhibit C.
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 (because there were none) or threatening termination, but rather by expressing gratitude with

 Rising’s continued cooperation: “Thank you once again for your assistance with this historical

 review.” (Id.). Thus, having failed to send a valid “notice of breach” to Rising, Sigmapharm’s

 purported termination is invalid on that basis alone. (Agreement § 12.2).

        37.     Second, putting aside Sigmapharm’s post hoc mischaracterization of the December

 2016 letter, the letter also does not allege a single material breach. In fact, the letter identifies

 only routine and minor “issues” (Ex. C at 1)—not “material breaches”—that often arise during the

 normal course of any business collaboration, especially one that has been in effect for more than a

 decade and that involves complex formulas for profit sharing.

        38.     In Exhibits A and C of the December 2016 letter, Sigmapharm claimed it was owed

 an additional $3 million in Net Profits from all sales Rising made during the entire seven-year

 period it had been commercializing Products. That amount is not “material” and, in fact, is legally

 insignificant given the magnitude of sales Rising made during that time period. Sigmapharm’s

 December 2016 letter indicates that, between April 2009 and March 2016, gross sales totaled $309

 million and Net Sales totaled $144 million. (Id., Ex. A). Because Sigmapharm’s alleged “issue”

 concerned a mere 1% of gross sales and 2% of Net Sales, it is not a “material” component of the

 relationship and, therefore, cannot give rise to a valid basis to terminate the Agreement.

        39.     In Exhibits B and D of the December 2016 letter, Sigmapharm simply asked

 questions about cash discounts or rebates that Rising provided to customers and about damaged

 shipments, which by definition are not claims of material breaches. In any event, under the express

 terms of the Agreement, even bona fide disputes concerning discounts and rebates cannot be

 “considered a breach of th[e] Agreement.” (Agreement § 5.7).




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        40.     In Exhibit E of the December 2016 letter, Sigmapharm asked Rising to pay

 $225,000, representing its alleged share of costs to buy equipment. As noted, this “issue” is trivial

 and, in any event, is based on a supposed agreement extraneous to the Agreement.

        41.     Accordingly, because none of the “issues” raised in Sigmapharm’s December 2016

 letter were even remotely close to a claim of a “material” breach of the Agreement, Sigmapharm’s

 termination was invalid. (Agreement § 12.2).

        42.     Third, even if the minor “issues” Sigmapharm identified in the December 2016

 letter were “material” (and they were not), Rising and Sigmapharm reached agreement on revenue

 figures and Rising paid the amount requested. Consequently, under the plain terms of the

 Agreement, Sigmapharm had no right to terminate the Agreement. (Agreement § 12.2).

        43.     In short, Sigmapharm had no basis for seeking to terminate the Agreement on

 March 23, 2018. Sigmapharm clearly scrambled to find any prior correspondence upon which it

 could feign compliance with the Agreement’s express conditions to termination, landing on the

 December 2016 letter (which, by then, was more than a year old), and dubbing it a “notice of

 breach.” But a “notice of breach” it is not. Moreover, the December 2016 letter raised only minor

 “issues”—not material breaches—and Rising worked with Sigmapharm to resolve those “issues.”

 Therefore, Sigmapharm’s pretextual attempt to terminate the Agreement “for cause,” and deprive

 Rising of its bargained-for rights under the Agreement, is invalid.

        44.     Notably, even if the December 2016 letter was valid and identified material

 breaches which Rising never cured, Sigmapharm’s purported termination of the Agreement still

 would be invalid. That is because Sigmapharm waived any right it would have had to terminate

 the Agreement. After sending the December 2016 letter, Sigmapharm waited more than fifteen

 months, or until March 23, 2018, to unlawfully terminate the Agreement. During that time period,

 Sigmapharm continued to supply Products to Rising and accept Net Profits. Therefore, having

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 continued to perform under and accept the fruits of the Agreement—even after the expiration of

 the Agreement’s 180-day cure period—Sigmapharm waived any right to terminate the Agreement

 (which right it never had in the first instance).

            45.   In any event, Sigmapharm purported to terminate all Products without providing

 Rising with the “thirty (30) days’ prior written notice” required under the Agreement (Agreement

 § 12.1), which further strips Sigmapharm’s baseless termination of any validity.

 III.       Sigmapharm Stops Supplying Products to Rising and Starts Selling Products Directly
            to Customers

            46.   After unlawfully terminating the Agreement on March 23, 2018, Sigmapharm

 rolled out the next phase of its scheme. Sigmapharm immediately stopped supplying Products to

 Rising, in breach of its obligations under the Agreement to fulfill Rising’s purchase orders for

 Products. This left Rising with no choice but to tell its customers that it would no longer be able

 to deliver Products.

            47.   Then, Sigmapharm rolled out its own marketing campaign, and began offering (and

 continues to offer) Products for sale to the public, including to the very customers Rising no longer

 was able to service precisely because of Sigmapharm’s refusal to comply with its obligations under

 the Agreement to supply Products to Rising.

            48.   Therefore, having improperly booted Rising from the Agreement by virtue of a

 pretextual termination in violation of the Agreement, Sigmapharm, is now pillaging Rising’s share

 of profits to which Rising is unquestionably entitled to receive under the Agreement. Indeed, in

 the last three quarters alone preceding Sigmapharm’s invalid termination of the Agreement,

 Rising’s sales of Products generated over $4.15 million in gross profits and $3.5 million in Net

 Profits.

            49.   Sigmapharm’s refusal to supply Products to Rising—as it was required to do under

 the Agreement—caused significant harm to Rising, including by exposing Rising to substantial
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 failure-to-supply liability (for which Sigmapharm is solely responsible), and damaging Rising’s

 business reputation, goodwill with its customers, and standing in the marketplace. Moreover,

 Sigmapharm’s unlawful marketing and sales of Products likewise violate the Agreement, which

 gives Rising the sole and exclusive right to market and sell Products. Therefore, Rising is entitled

 to recover any and all profits Sigmapharm earns from its unlawful sales of Products, and any and

 all profits Rising would have earned from sales of Products had Sigmapharm not breached the

 Agreement.

 IV.    Sigmapharm’s Additional Breaches of the Agreement

         50.    Rising currently does not owe Sigmapharm any monies pursuant to the Agreement,

 by way of profit sharing or otherwise. Moreover, over the course of the parties’ relationship,

 Sigmapharm has made informal requests for documentation supporting Rising’s calculation of Net

 Sales and Net Profits, and Rising has provided that information and supporting documentation to

 Sigmapharm.

         51.    In contrast, Sigmapharm is liable to Rising for substantial overpayments of Net

 Profits that it was not entitled to receive under the Agreement and must return to Rising. Under

 the Agreement, profit sharing was calculated on a cash basis, rather than on an accrual basis. In

 the normal course, when pricing concessions or adjustments (including customer chargebacks,

 rebates, credits, etc.) accrued after Rising made a profit-sharing payment to Sigmapharm, Rising

 was entitled under the Agreement to (and did) offset accruals against future profit sharing

 payments to Sigmapharm. However, because of Sigmapharm’s unlawful termination and breach

 of the Agreement, Rising was unable to offset accruals against future profits and, therefore, is

 entitled to a refund of overpayments directly from Sigmapharm.

         52.    As of January 2019, Sigmapharm owed Rising approximately $5.5 million in

 overpayments of Net Profits on account of accrued pricing concessions and adjustments, and that

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 liability may rise significantly as additional pricing concessions are accounted for or accrue in the

 future.7 Moreover, Rising is entitled to recover from Sigmapharm approximately $3.5 million in

 Net Profits paid to Sigmapharm in error, based on an improper allocation of the costs of goods

 sold under the profit-sharing formula set forth in the Agreement.               Accordingly, given the

 reconciliation procedures and audit provisions of the Agreement, together with the parties’ past

 practices, Rising is owed a substantial refund of no less than approximately $9 million, plus all

 additional liabilities that are hereafter accounted for or accrue in the future.

             53.      In addition, Rising has demanded that Sigmapharm submit to an inspection and

 audit pursuant to Sections 5.3.4 and 8.6 of the Agreement. But, Sigmapharm refused.

 V.         The Prior Proceedings and Sigmapharm’s Meritless Claims

            54.       Prior to the Petition Date, on March 23, 2018, Sigmapharm filed a complaint

 against Rising and Aceto in the United States District Court for the Eastern District of

 Pennsylvania.          That complaint, like the Sigmapharm Claims, was meritless.         The crux of

 Sigmapharm’s complaint was the notion that Rising and Aceto purportedly “cheated” Sigmapharm

 by underpaying profits under the Agreement; yet, Sigmapharm conceded that Rising paid every

 dollar Sigmapharm claimed it was owed under the Agreement. Indeed, the complaint did not

 actually identify any monies due to Sigmapharm. That is because Rising and Aceto did not, and

 currently do not, owe any money to Sigmapharm.

            55.       The litigation commenced by Sigmapharm was later stayed pending arbitration, in

 which Sigmapharm filed “Counterclaims” against Rising and “Claims” against Aceto that mirrored

 the complaint Sigmapharm filed in the District Court. The arbitration was, in turn, stayed upon

 commencement of the Chapter 11 Cases.




 7
     Rebates and other offsets often take as long as two years to crystallize.
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         56.    On June 12, 2019, Sigmapharm filed the Sigmapharm Claims with the Debtors’

 Court-approved claims agent in the Chapter 11 Cases. The Sigmapharm Claims assert identical

 claims against Rising and Aceto. They allege that Rising breached its contractual obligations

 under sections 1.37 and 8.6 of the Agreement to allow Sigmapharm to complete certain audits of

 “Rising’s accounting” covering (i) the period from the inception of the parties’ relationship to

 March 31, 2016, and (ii) the period from April 1, 2017 through “the present.” (Sigmapharm

 Claims, Ex. 1, ¶ 2). They also assert a claim against Rising and Aceto, respectively, in the amount

 of “in excess of $37,840,800.97” consisting of various alleged amounts due to Sigmapharm under

 the Agreement, which Sigmapharm alleges to have terminated. (Id. ¶ 1).

         57.    Contrary to the allegations in the Sigmapharm Claims, Rising did not breach the

 Agreement in any manner and Rising and Aceto do not owe any amounts to Sigmapharm under

 the terms of the Agreement or otherwise. After conceding in prior pleadings that Rising paid all

 monies to which Sigmapharm claimed it was entitled under the Agreement, Sigmapharm now

 asserts that Rising and Aceto owe it more than $37 million, which is a number Sigmapharm

 invented out of whole cloth for purpose of its proofs of claim. The Sigmapharm Claims are as

 conclusory as they are meritless, and they are nothing more than a transparent attempt to distract

 from the millions of dollars Sigmapharm owes Rising under the Agreement.

        58.     To illustrate, as Sigmapharm itself concedes (Id. ¶¶ 6-7), Rising allowed

 Sigmapharm an audit for the period of 2009 to April 2016, which Sigmapharm completed more

 than two years ago. During that audit, Rising provided to Sigmapharm documents and data it

 requested and that Rising was required to provide under the Agreement. In fact, before it attempted

 to manufacture a pretextual termination of the Agreement for alleged cause, Sigmapharm advised

 Rising that the information it provided during that audit was satisfactory to Sigmapharm.




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        59.     Sigmapharm’s assertion that the audit revealed a so-called “error rate” of “16% of

 reductions to net sales” (Id. ¶ 10) is blatantly false, even by its own account. As discussed above,

 Sigmapharm summarized its view of the results of its audit in its letter dated December 16, 2016.

 (Exhibit C). As reflected in that letter, the audit reviewed a seven-year period during which

 Rising’s Gross Sales of Products totaled $309 million and Net Sales totaled $144 million.

 Sigmapharm claimed a $3 million adjustment of additional Net Profits due to it pursuant to the

 audit, which even if accurate would amount to an adjustment of just 2% of the total Net Sales, not

 16% as Sigmapharm now asserts. Furthermore, Sigmapharm’s claimed $3 million adjustment

 failed to take into account cash discounts and rebates due to the Center for Medicare and Medicaid

 Services. After application of those discounts and rebates, the figure in question is reduced to

 $277,101, equivalent to an error rate of just 0.2%. Rising paid that amount to Sigmapharm.

        60.     As for the period following March 2016, Rising agreed to submit to an audit in

 accordance with the procedures set forth in the Agreement, and provided Sigmapharm an audit

 package for that period. Sigmapharm speculates that this audit will reveal an underpayment of

 roughly $9 million in 2017. (Sigmapharm Claims, Ex. 1, ¶ 10). Once again, Sigmapharm invented

 that number out of whole cloth. Indeed, Sigmapharm relied solely on the supposed 16% error rate

 from the prior audit, which is irrelevant and, in any event, demonstrably false.

        61.     In truth, the audit package revealed that Sigmapharm owes Rising over $5.5 million

 on account of chargebacks, rebates, and similar items alone as of January 2019—money which is

 plainly due and owing, and which Sigmapharm has simply refused to pay.

        62.     Sigmapharm’s remaining allegations—which seek damages totaling nearly $25

 million for supposed recovery of administrative fees previously paid to Rising, lost profits, expert

 and attorneys’ fees and costs, and products (id. ¶¶ 11-16)—are predicated entirely on the fiction




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 that Rising breached the Agreement and that Sigmapharm validly terminated it. As discussed

 herein, this contention is patently false.

         63.     In any event, Sigmapharm’s allegations and requested relief have no basis in the

 Agreement and/or applicable law. For instance, Sigmapharm claims that it paid Rising $11.6

 million between April 2009 through December 2017 in “administrative fees pursuant to Sections

 1.36, 1.37, 1.52, 8.1.2, and 8.6 of the contract, which was to compensate Rising for maintaining

 the records for audit,” and further that it is entitled to a refund of that amount because Rising failed

 to maintain such records for audit. (Id. ¶ 11). In truth, Rising maintained all records it was required

 to maintain under the Agreement. Regardless, Sigmapharm’s allegation mischaracterizes the

 Agreement. Of the cited provisions, the only “fee” mentioned is “Rising’s Fee,” which is a fee set

 by formula that itself is composed of two separate fees: a “distribution” fee and a “marketing and

 sales” fee, each of which is made up of multiple components. (Agreement § 1.52). Consequently,

 Sigmapharm paid Rising that fee to compensate Rising for conducting numerous distribution and

 marketing tasks, not to “maintain records for audit.”

                                        COUNT ONE
                  (Objection to Claim No. 155 Pursuant to 11 U.S.C. § 502(b))

         64.     Plaintiffs repeat the allegations above as if fully set forth herein.

         65.     Claim No. 155 fails to allege the existence of any agreement between Sigmapharm

 and Aceto or any facts that could form the basis for any liability of Aceto to Sigmapharm.

         66.     Aceto is not a signatory to the Agreement, and Sigmapharm cannot seek to enforce

 the Agreement against Aceto.

         67.     Even if Sigmapharm could enforce the Agreement against Aceto, Aceto has not

 breached the Agreement.

         68.     To the extent that Aceto has breached the Agreement and Sigmapharm has suffered

 damages as a result of such breach, Sigmapharm has failed to mitigate any such damages.
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        69.      To the extent that Aceto has breached the Agreement and Sigmapharm has suffered

 damages as a result of such breach, Aceto is entitled to exercise setoff rights based on the

 affirmative claims against Sigmapharm set forth herein to reduce the amount of any claim that may

 be allowed against Aceto.

        70.      After thorough review of its books and records, Aceto has determined that it does

 not owe any amounts to Sigmapharm under the terms of the Agreement or otherwise.

        71.      Failure to disallow Claim No. 155 would result in Sigmapharm receiving an

 unwarranted recovery to the detriment of other stakeholders in the Chapter 11 Cases.

        72.      Accordingly, Claim No. 155 should be disallowed pursuant to 11 U.S.C. §

 502(b)(1) because it is not enforceable against Aceto or property of Aceto under any agreement or

 applicable law.

                                         COUNT TWO
             (Request for Estimation of Claim No. 155 Pursuant to 11 U.S.C. § 502(c))

        73.      Plaintiffs repeat the allegations above as if fully set forth herein.

        74.      Claim No. 155 is contingent and unliquidated and the fixing or liquidation of the

 allowed amount of Claim No. 155, if any, would unduly delay the administration of the Chapter

 11 Cases.

        75.      In the event that Claim No. 155 is not promptly disallowed, Plaintiffs also seek

 estimation, pursuant to 11 U.S.C. § 502(c), of the allowed amount of Claim No. 155 for all

 purposes in the Chapter 11 Cases, including distributions under any confirmed plan, at zero dollars

 ($0.00).

                                       COUNT THREE
                   (Objection to Claim No. 162 Pursuant to 11 U.S.C. § 502(b))

        76.      Plaintiffs repeat the allegations above as if fully set forth herein.




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        77.      Rising has at all times fulfilled all of its obligations under the Agreement and has

 not breached the Agreement.

        78.      To the extent that Rising has breached the Agreement and Sigmapharm has suffered

 damages as a result of such breach, Sigmapharm has failed to mitigate any such damages.

        79.      To the extent that Rising has breached the Agreement and Sigmapharm has suffered

 damages as a result of such breach, Rising is entitled to exercise setoff rights based on its

 affirmative claims against Sigmapharm set forth herein to reduce the amount of any claim that may

 be allowed against Rising.

        80.      After thorough review of its books and records, Rising has determined that it does

 not owe any amounts to Sigmapharm under the terms of the Agreement or otherwise.

        81.      Failure to disallow Claim No. 162 would result in Sigmapharm receiving an

 unwarranted recovery to the detriment of other stakeholders in the Chapter 11 Cases.

        82.      Accordingly, Claim No. 162 should be disallowed pursuant to 11 U.S.C. § 502(b).

                                         COUNT FOUR
             (Request for Estimation of Claim No. 162 Pursuant to 11 U.S.C. § 502(c))

        83.      Plaintiffs repeat the allegations above as if fully set forth herein.

        84.      Claim No. 162 is contingent and unliquidated and the fixing or liquidation of the

 allowed amount of Claim No. 162, if any, would unduly delay the administration of the Chapter

 11 Cases.

        85.      In the event that Claim No. 162 is not promptly disallowed, Plaintiffs also seek

 estimation, pursuant to 11 U.S.C. § 502(c), of the allowed amount of Claim No. 162 for all

 purposes in the Chapter 11 Cases, including distributions under any confirmed plan, at zero dollars

 ($0.00).




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                                          COUNT FIVE
                          (Declaratory Judgment – Unlawful Termination)

         86.     Plaintiffs repeat the allegations above as if fully set forth herein.

         87.     An actual controversy has arisen and now exists between the parties concerning

 their respective rights, liabilities, and duties.

         88.     On March 23, 2018, Sigmapharm purported to terminate the Agreement “for

 cause.” Sigmapharm, however, had no basis to terminate the Agreement and the supposed

 termination was unlawful and invalid.

         89.     Rising is entitled to a declaration that Sigmapharm’s purported termination of the

 Agreement was unlawful and invalid, and that the Agreement remains in full force and effect.

                                         COUNT SIX
                  (Breach of the Agreement – Damages: Unlawful Termination)

         90.     Plaintiffs repeat the allegations above as if fully set forth herein.

         91.     Sigmapharm breached the Agreement by, inter alia: (i) unlawfully terminating the

 Agreement; (ii) ceasing all performance under the Agreement; (iii) refusing to supply Products to

 Rising and fulfill Rising’s purchase orders; and (iv) marketing, distributing, and/or selling

 Products to customers.

         92.     Rising is entitled to recover any and all damages resulting from Sigmapharm’s

 breaches of the Agreement, including, but not limited to: (i) Rising’s own lost profits from

 Products that Sigmapharm is refusing to supply, in breach of the Agreement; (ii) disgorgement of

 any profits or revenues realized by Sigmapharm arising from its sale of the Products directly or

 indirectly through a third party, in breach of Rising’s exclusivity rights; (iii) recovery of any

 failure-to-supply liability or damages that Rising owes or will owe to its own customers; and (iv)

 loss of or damages to business reputation or goodwill.




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        93.      Rising seeks an award of damages on this claim in an amount to be determined at

 trial, plus interest and such other relief as the Court deems just and proper.

                                       COUNT SEVEN
               (Breach of the Agreement – Damages: Failure to Return Net Profits)

        94.      Plaintiffs repeat the allegations above as if fully set forth herein.

        95.      Sigmapharm breached the Agreement by refusing to return at least $9,000,000 in

 Net Profits to which it was not entitled to receive under the Agreement as of January 2019. Rising

 also is entitled to recover from Sigmapharm any and all additional liabilities that have accrued

 since January 2019 or will accrue in the future.

        96.      Rising seeks an award of damages on this claim in the amount of at least

 $9,000,000, plus any additional liabilities that have accrued or will accrue in the future, interest,

 and such other relief as the Court deems just and proper.

                                      COUNT EIGHT
          (Breach of Contract – Specific Performance: Inspection and Audit Rights)

        97.      Plaintiffs repeat the allegations above as if fully set forth herein.

        98.      Pursuant to Sections 5.3.4 and 8.4 of the Agreement, Rising is entitled to inspect

 and audit Sigmapharm’s books and records concerning the “manufacture of the Products” and

 expenses.

        99.      Sigmapharm has refused, and continues to refuse, to permit Rising to exercise its

 inspection and audit rights under the Agreement.

        100.     Rising is entitled to an order of specific performance requiring Sigmapharm to

 comply with its obligations under Sections 5.3.4 and 8.6 of the Agreement.

                                            COUNT NINE
                                    (Setoff of Unpaid Obligations)

        101.     Plaintiffs repeat the allegations above as if fully set forth herein.



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        102.    The Unpaid Obligations arose from the Agreement and are debts owed by

 Sigmapharm to Rising.

        103.    The Sigmapharm Claims allegedly arise from the Agreement.

        104.    Pursuant to section 558 of the Bankruptcy Code, Rising’s defenses to the

 Sigmapharm Claims, including setoff, are preserved.

        105.    To the extent that the Sigmapharm Claims are allowed in any amount, Plaintiffs

 have valid setoff rights and, under applicable law, the Unpaid Obligations should be setoff first

 against the allowed amount (if any) of the Sigmapharm Claims.

                                     PRAYER FOR RELIEF

        WHEREFORE, judgment should be entered in favor of Plaintiffs and against Defendant

 for one or more of the following forms of relief or some combination of them:

        A.      On Count One, disallowance of Claim No. 155 in its entirety.

        B.      On Count Two, in the event that Claim No. 155 is not promptly disallowed,

 estimation, of the allowed amount of Claim No. 155 for all purposes in the Chapter 11 Cases,

 including distributions under any confirmed plan, at zero dollars ($0.00).

        C.      On Count Three, disallowance of Claim No. 162 in its entirety

        D.      On Count Four, in the event that Claim No. 162 is not promptly disallowed,

 estimation, of the allowed amount of Claim No. 162 for all purposes in the Chapter 11 Cases,

 including distributions under any confirmed plan, at zero dollars ($0.00).

        E.      On Count Five, a declaration that Sigmapharm’s termination of the Agreement was

 unlawful, invalid, and in violation of the Agreement, and that the Agreement remains in full force

 and effect.

        F.      On Count Six, an award of damages in an amount to be determined at trial, plus

 interest and such other relief as the Court deems just and proper.

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         G.      On Count Seven, an award damages in the amount of at least $9,000,000, plus any

 additional liabilities that have accrued or will accrue in the future, interest, and such other relief as

 the Court deems just and proper.

         H.      On Count Eight, an award of specific performance requiring Sigmapharm to

 comply with its inspection and audit obligations under Sections 5.3.4 and 8.6 of the Agreement.

         I.      On Count Nine, to the extent that the Sigmapharm Claims are allowed in any

 amount, authorization for Rising to effect a setoff of the Unpaid Obligations against the

 Sigmapharm Claims.

         J.      An award of costs of suit and attorneys’ fees;

         K.      An award of pre-judgment interest at the maximum legal rate; and

         L.      Any such other and further relief as the Court may deem just and proper.


 Dated: July 18, 2019                            By: /s/ Gavin J. Rooney
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